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Defendants’ Exhibit 31
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  U.S. Customs and Border Protection
     National Standards on Transport, Escort,
              Detention, and Search
                              October 2015
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FOREWORD FROM THE COMMISSIONER

I am announcing the implementation of an agency-wide policy that sets forth the first nationwide standards
which govern CBP’s interaction with detained individuals. This policy continues our commitment to the safety,
security and care of those in our custody. The policy, titled U.S. Customs and Border Protection (CBP) National
Standards on Transport, Escort, Detention, and Search (TEDS), is the result of collaborative work among various
offices.
The new policy document is grounded firmly in the experience and policies of the Office of Field Operations and
the United States Border Patrol. It incorporates best practices developed in the field, and it reflects key legal
and regulatory requirements. In addition to transport, escort, detention and search provisions, TEDS also
includes requirements related to: sexual abuse and assault prevention and response; care of at-risk individuals
in custody; and personal property.
I commend the many offices across CBP and DHS who worked together to produce this important policy
document.




                                  R. Gil Kerlikowske
Commissioner
U.S. Customs and Border Protection




AUTHORITIES / REFERENCES
Authorities/References (including, but not limited to, the following): 19 United States Code (USC) §§ 482,
1461, 1581, 1582, 1589a; Title 8 Code of Federal Regulations (CFR) Parts 232, 235, 236, and 287; 6 CFR Part
115; 79 FR 13100 (Standards To Prevent, Detect, and Respond to Sexual Abuse and Assault in Confinement
Facilities); The Immigration and Nationality Act (INA); Personal Search Handbook, CIS HB 3300-04B revised July
2004; Use of Force Policy, Guidelines and Procedures Handbook, HB 4500-01C, revised May 2014; Motor
Vehicle Management Handbook, HB 5200-14B, revised June 2014; Occupational Safety and Health Handbook,
HB 5200-08B, revised September 2012; Secure Detention, Transport and Escort Procedures at Ports of Entry,
3340-030B, August 8, 2008; The Law of Arrest, Search, and Seizure Manual, M-69; Enforcement Standards –
Body Searches, May 28, 1997; Hold Rooms and Short Term Custody, OBP 50/10.2-P; CBP Policy on
Nondiscrimination in Law Enforcement Activities and all other Administered Programs, February 6, 2014; CBP
Zero-Tolerance Policy, March 11, 2015.




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4.13 Food and Beverage                                   potential egress points are utilized in a manner that




                                                                                                                        4.0 SECURE DETENTION STANDARDS
                                                         reduces escape risk.
General: Food and water should never be used as a
reward, or withheld as punishment. Food provided
must be in edible condition (not frozen, expired or
spoiled).
Meal Timeframe: Adult detainees, whether in a hold
room or not, will be provided with food at regularly
scheduled meal times. All meal service must be
documented in the appropriate electronic system(s)
of record. For juvenile meal timeframes, see Section
5.6.
Snack Timeframe: Adult detainees, whether in a
hold room or not, will be provided with snacks
between regularly scheduled meal times. For
juvenile snack timeframes, see Section 5.6.
Requests: When an adult detainee requests a snack
or food before the next food service, officers/agents
may grant the request on the basis of the
circumstances.
Dietary Restrictions: Officers/Agents should remain
cognizant of a detainee’s religious or other dietary
restrictions.

4.14 Drinking Water
Functioning drinking fountains or clean drinking
water along with clean drinking cups must always be
available to detainees.

4.15 Restroom Facilities
Restroom Facilities: Restroom accommodations will
be available to all detainees and a reasonable
amount of privacy will be ensured. If the detainee is
suspected of being an internal carrier, restroom use
may be monitored.
Privacy: Officers/Agents must make a reasonable
effort to afford privacy to all detainees of the
opposite gender consistent with the prohibition on
voyeurism.

4.16 Open Area Security
Additional caution must be exercised to ensure the
safety of the public and staff in open areas. Officers/
Agents working in or transiting this area must
exercise due diligence to safeguard their firearms
and other weapons. Staff must also ensure that all

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                                                                                                                            5.0 AT-RISK POPULATIONS
witnesses, authorizing supervisors, and consent,             their children before contacting a social service
must be recorded in the narrative section of the             agency. In those instances where a parent or legal
appropriate electronic system(s) of record.                  guardian and a non-U.S. citizen child must be
                                                             separated, the non-U.S. citizen child will be classified
5.6 Detention                                                as a UAC and will be processed accordingly.
Least Restrictive Setting: Officers/Agents will place        Detention – UAC and Juveniles: UAC must be held
each at-risk detainee in the least restrictive setting       separately from adult detainees. A juvenile may
appropriate to their age and special needs, provided         temporarily remain with a non-parental adult family
that such setting is consistent with the need to             member where: 1) the family relationship has been
ensure the safety and security of the detainee and           vetted to the extent feasible, and 2) the CBP
that of others. Adult at-risk detainees will not simply supervisor determines that remaining with the non-
be placed in the least restrictive setting available, if     parental adult family member is appropriate, under
they strongly communicate a preference for being             the totality of the circumstances.
held in a hold room.
                                                             Transfer to the Department of Health and Human
Expeditious Processing: Whenever operationally               Services, Office of Refugee Resettlement (ORR):
feasible, at-risk individuals will be expeditiously          Every effort must be made to transfer UAC from CBP
processed to minimize the length of time in CBP              to ORR custody as soon as possible, but no later than
custody.                                                     72 hours after determining that a child is a UAC.
Family Units: Generally, family units with juveniles         Requested placement notifications for the UAC must
should not be separated. When it is necessary to             be conducted and logged in the appropriate
separate juveniles from the parent(s) and/or legal           electronic system(s) of record. The reasons for any
guardian(s), officers/agents must follow legal               detention longer than 72 hours must be logged in
requirements and their operational office’s policies         the appropriate electronic system(s) of record.
and procedures. In circumstances where family units Hygiene Articles, Bedding and Clean Clothing -
must be separated due to different immigration               Juveniles: Juveniles will be given access to basic
dispositions, such separation must be documented in hygiene articles, and clean bedding. When available,
the appropriate electronic system(s) of record.              juveniles will be provided clean and dry clothing.
Unaccompanied Juvenile Siblings: Whenever                   Officers/Agents may give access to these provisions
operationally feasible, UAC siblings should not be          to any juvenile at any time.
separated, unless deemed necessary for safety               Meals and Snacks – Juveniles, Pregnant, and
purposes. In circumstances where siblings must be           Nursing Detainees: Juveniles and pregnant
separated due to different immigration dispositions,        detainees will be offered a snack upon arrival and a
such separation must be documented in the                   meal at least every six hours thereafter, at regularly
appropriate electronic system(s) of record.                 scheduled meal times. At least two of those meals
Nursing Mother and Children: In situations where a          will be hot. Juveniles and pregnant or nursing
detained female is nursing, the child will not be           detainees must have regular access to snacks, milk,
removed from the care of the mother unless she              and juice.
poses a danger to the child or if she will be               Age and Capabilities Appropriate Food: Food must
transferred to the custody of another agency for            be appropriate for at-risk detainees’ age and
criminal prosecution.                                       capabilities (such as formula and baby food).
Separation of Children from Parents or Legal                Showers – Juveniles: Reasonable efforts will be
Guardians: In those instances where a parent or             made to provide showers, soap, and a clean towel to
legal guardian and U.S. citizen child must be               juveniles who are approaching 48 hours in
separated, social services may need to be contacted         detention.
to take custody of the child. CBP should ensure
parents have the opportunity to arrange for care of
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                                                                                                                      5.0 AT-RISK POPULATIONS
Showers – Transgender or Intersex Detainees:             restraints are deemed necessary, no detainee known
Whenever showers are provided, transgender and           to be pregnant will be restrained in a face-down
intersex detainees will be given the opportunity to      position, on her back, or in a restraint belt that
shower separately from other detainees.                  constricts the area of the pregnancy. All exceptions
                                                         must be documented in the appropriate electronic
Hold Rooms – UAC: Hold rooms for UAC must
                                                         system(s) of record, including the facts and the
provide the following:
                                                         reasoning behind the decision.
   Toilets and sinks;
   Professional cleaning and sanitizing at least once    Post-delivery Recuperation: A detainee in post-
     per day;                                            delivery recuperation must not be restrained absent
   Drinking fountains or clean drinking water along      extraordinary circumstances that render restraints
     with clean drinking cups;                           absolutely necessary.
   Adequate temperature control and ventilation;         Active Labor or Delivery: Restraints are never
     and                                                 permitted on detainees who are in active labor or
   Clean bedding.
                                                         delivery.
Access to Medical Care: Any physical or mental
injury or illness observed by or reported to an
officer/agent should be reported to a supervisor and
appropriate medical care should be provided or
sought. Emergency services will be called
immediately in the event of a medical emergency.
Officers/Agents must notify the shift supervisor of all
medical emergencies as soon as possible after
contacting emergency services and document the
incident in the appropriate electronic system(s) of
record.
Consular and Telephone Access – UAC: All UAC must
be advised of their right to consular and telephone
access in a language or manner the detainee
comprehends.

5.7 Use of Restraints
General: The use of restraints on at-risk detainees
must be in a manner that is safe, secure, humane,
and professional. It is the responsibility of officers/
agents to ensure that the need and level of restraints
used is consistent with the operational office’s
policies and procedures. At no time will restraints be
used in a punitive manner or in a manner that causes
detainees undue pain.
Pregnant Detainees and Juveniles: Barring exigent
circumstances, officers/agents must not use
restraints on pregnant detainees or juveniles unless
they have demonstrated or threatened violent
behavior, have a history of criminal and/or violent
activity, or an articulable likelihood of escape exists.
Even in the extraordinary circumstance when

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